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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA

v.                                                           CASE NO. 1:06-cr-00027-MP-AK

CEDRIC TERAN THOMAS,

      Defendant.
________________________________/

                                           ORDER

       This matter is before the Court on Doc. 91, Motion to Continue Sentencing, filed by

Defendant Thomas. Defendant requests a continuance of his sentencing hearing, currently

scheduled for December 20, 2006, at 10:00 a.m. After considering the matter, the motion is

granted. Accordingly, the sentencing hearing of Defendant Thomas is hereby rescheduled for

Thursday, January 18, 2006, at 10:00 am.



       DONE AND ORDERED this           16th day of November, 2006


                                     s/Maurice M. Paul
                                Maurice M. Paul, Senior District Judge
